
439 S.E.2d 836 (1993)
Ronald W. FALKOSKY, Mary Falkosky, and Scott Falkosky, Petitioners,
v.
ALLSTATE INSURANCE COMPANY, Respondent,
v.
Martha G. BEST, Burrell G. Best, and Grace Retail Corporation, Petitioners.
No. 23976.
Supreme Court of South Carolina.
Submitted December 3, 1993.
Decided December 20, 1993.
Michael A. Pulliam, for petitioner Grace Retail Corp.; George R. McElveen, III, for petitioners Falkosky; and Ronald E. Alexander, for petitioners Best, all of Columbia.
Edward W. Laney, IV, Columbia, for respondent.

ON WRIT OF CERTIORARI
PER CURIAM:
Petitioners seek a writ of certiorari to review the Court of Appeals' decision in Falkosky v. Allstate Insurance Company, ___ S.C. ___, 429 S.E.2d 194 (Ct.App.1993). We grant the writ as to Question I, deny the writ as to Question II, dispense with further briefing and affirm as modified.
This case involves the construction of an exclusion in a homeowner's insurance policy. In reaching its conclusion that the exclusion prevents coverage in this case, the Court of Appeals relied on the standard established in McPherson v. Michigan Mutual Ins. Co., 306 S.C. 456, 412 S.E.2d 445 (Ct.App.1991). This was error since this Court specifically rejected this standard in McPherson v. Michigan Mutual Ins. Co., ___ S.C. ___, 426 S.E.2d 770 (1993).
However, even if the correct standard is applied, the exclusion prevents coverage in this case. Accordingly, the opinion of the Court of Appeals is
AFFIRMED AS MODIFIED.
